                    Case 2:07-cr-00282-WKW-CSC Document 506 Filed 06/24/09 Page 1 of 6
%A0 245B (Rev. 06/05) Judgment in a Criminal Case
            Sheet 1



                                       UNITED STATES DISTRICT COURT
                        MIDDLE                                    District of                                  ALABAMA

         UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                        V.
                ERIC LANE SAUCIER
                                                                          Case Number:                        2:07cr282-008-WKW

                                                                                                              (WO)

                                                                          USM Number:                         10106-043

                                                                           Susan Graham James
                                                                          Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)       is of the Superseding Indictment on August 12, 2008

0 pleaded nob contendere to count(s) __________________________________________________________________________________
   which was accepted by the court.
0 was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                 Nature of Offense                                                 Offense Ended                         Count
21:846                          Conspiracy to Possess With Intent to Distribute Methamphetainine 11/2/2007                                is




       The defendant is sentenced as provided in pages 2 through                  6       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0 The defendant has been found not guilty on count(s)
X Count(s) 1 of the original Indictment                  X is      0 are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are filly paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                           June 16, 2009
                                                                           Date of Imposition of Judgment
                                                                                         .-,. -             -7tN £-r-D
                                                                           Signature




                                                                           W. KEITH WATKINS. UNITED STATES DISTRICT JUDGE
                                                                          Name and Title of Judge



                                                                           Date
                      Case 2:07-cr-00282-WKW-CSC Document 506 Filed 06/24/09 Page 2 of 6
AO 245B      (Rev. 06/05) Judgment in Criminal Case
             Sheet 2— Imprisonment
                                                                                                    Judgment - Page    2   of   6
DEFENDANT:                      ERIC LANE SAUCIER
CASE NUMBER:                    2:07cr282-008-WKW


                                                          IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:


Time Served - 4 Months



     (:iThe court makes the following recommendations to the Bureau of Prisons:




     OThe defendant is remanded to the custody of the United States Marshal.

     DThe defendant shall surrender to the United States Marshal for this district:

          oat ___________________ 0 a.m. 0 p.m. on ____________________________
          o as notified by the United States Marshal.

     []The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          o before 2 p.m. on
          0 as notified by the United States Marshal.
          0 as notified by the Probation or Pretrial Services Office.


                                                                RETURN
 I have executed this judgment as follows:




          Defendantdelivered on ____________________________________ to _______________________________________

 at__________________________________ , with a certified copy of this judgment.



                                                                                                 UNrFED STATES MARSHAL


                                                                        By
                                                                                             DEPUTY UNITED STATES MARSHAL
                    Case 2:07-cr-00282-WKW-CSC Document 506 Filed 06/24/09 Page 3 of 6
AO 245B (Rev. 06/05) Judgment in a Criminal Case
          Sheet 3—Supervised Release
                                                                                                         Judgment—Page       3     of        6
DEFENDANT:     ERIC LANE SAUCIER
CASE NUMBER: 2:07cr282-008-WKW
                                                      SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:

 5 Years



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
 (J The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse. (Check, if applicable.)
 X The defendant shall not possess a flreann, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 0 The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
      student, as directed by the probation officer. (Check, if applicable.)
 0 The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                      STANDARD CONDITIONS OF SUPERVISION
   1)   the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)   the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
        each month;
   3)   the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)   the defendant shall support his or her dependents and meet other family responsibilities;
   5)   the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
   6)   the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)   the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)   the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)   the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
        felony, unless granted permission to do so by the probation officer;
  10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
  11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
  13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
        record or ,personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant s compliance with such notification requirement.
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A0 245B    (Rev. 06/05) Judgment in a Criminal Case
           Sheet 3C - Supervised Release
                                                                                                Judgment—Page     4     of       6
DEFENDANT:     ERIC LANE SAUCIER
CASE NUMBER: 2:07cr282-008-WKW

                                         SPECIAL CONDITIONS OF SUPERVISION
Defendant shall abstain from the use of alcohol and illicit drugs. Defendant shall not use any mood altering substances,
including prescribed medication, without the permission of the probation officer.
Defendant shall provide the probation officer with access to any requested financial information.
Defendant shall not apply for, solicit, or incur any further debt, including, but not limited to, loans, lines of credit, or credit
card charges, either as principal or cosigner, as an individual or through any corporate entity without first obtaining
permission from the United States Probation Officer.
Defendant shall participate in a program of testing and/or treatment for drug abuse as directed by the probation officer.
Defendant shall contribute to the cost of such treatment to the extent that he is deemed capable by the probation officer.
Defendant shall participate in any re-entry court or similar program in the Southern District of Mississippi, at the discretion
of the United States Probation Officer.
Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the search policy of this
court.
                     Case 2:07-cr-00282-WKW-CSC Document 506 Filed 06/24/09 Page 5 of 6
AO 245B (Rev. 06/05) Judgment in a Criminal Case
           Sheet 5—Criminal Monetary Penalties
                                                                                                   Judgment—Page         5     of        6
 DEFENDANT:                       E1UC LANE SAUCIER
 CASE NUMBER:                     2:07cr282-008-WKW
                                            CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                                      Fine                                  Restitution
 TOTALS            $ 100                                           $ 10,000                            $


 El The determination of restitution is deferred until ______. An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

 0 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximatel roportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 .S.C. § 3664(t), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                               Total Loss*                      Restitution Ordered                   Priority or Percentaae




 TOTALS                             $                          0         $                            0


 El Restitution amount ordered pursuant to plea agreement $ ______________________

 0 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in fall before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(0. All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 X The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       X the interest requirement is waived for the X fine 0 restitution.
       0 the interest requirement for the 0 fine 0 restitution is modified as follows:



 * Findings for the total amount of losses are required under Chapters 1 09A, 110, 1 bA, and 1 13A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
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AO 245B    (Rev. 06/05) Judgment in a Criminal Case
           Sheet 6— Schedule of Payments
                                                                                                         Judgment - Page      6     of       6
DEFENDANT:     ERIC LANE SAUCIER
CASE NUMBER: 2:07cr282-008-WKW

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A X Lump sum payment of $ 10,100                             due immediately, balance due

           0 not later than __________________________ , or
           x in accordance         0 C, D D, 0 E, or x F below; or
B 0 Payment to begin immediately (may be combined with 0 C,                          0 D, or 0 F below); or

 C         Payment in equal ____________ (e.g., weekly, monthly, quarterly) installments of $ ____________ over a period of
          ___________ (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after the date of this judgment; or

 D 0 Payment in equal ____________ (e.g., weekly, monthly, quarterly) installments of $ ____________ over a period of
        ___________ (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after release from imprisonment to a
         tenn of supervision; or

 E 0 Payment during the term of supervised release will commence within ___________ (e.g., 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F X Special instructions regarding the payment of criminal monetary penalties:

           Criminal monetary payments shall be made payable to the Clerk, U.S. District Court, Middle District of Alabama, P.O. Box 711,
           Montgomery, AL 36101.
           Any unpaid balance of the fine shall be paid at the rate of $100 per month to commence within 30 days of the Judgment.


 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All crunmal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 0 Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 0 The defendant shall pay the cost of prosecution.

 0 The defendant shall pay the following court cost(s):

 0 The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
